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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

   SONY MUSIC ENTERTAINMENT, et al.,
                  Plaintiffs,
                                                      Civil No. 1:18-cv-950 (LO / JFA)
                 v.

   COX COMMUNICATIONS, INC, et al.,

                         Defendants.


                                       [PROPOSED] ORDER

         THIS COURT, having considered Cox’s Motion for Remittitur, or in the Alternative, A

  New Trial Under Federal Rule of Civil Procedure 59(a) (ECF No. 683), HEREBY ORDERS that

  Cox’s Motion for Remittitur is GRANTED and the damages award shall be reduced to:

  ______________________.

         In the alternative, the Court hereby vacates the judgment and orders a new trial.



  ENTERED this _______ day of ___________________, 2020.

  Alexandria, Virginia
                                                        ____________________________
                                                        The Honorable Liam O’Grady
                                                        United States District Judge
                                                        Eastern District of Virginia




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